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                                                                                       U.S. uiSTRtC i COURT
                                                                                           AUGUSTA DiV.
                          IN THE UNITED    STATES DISTRICT         COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                       AUGUSTA DIVISION
                                                                                   20JUL2i PI-1 2*32

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                                                 'k
UNITED STATES OF AMERICA
                                                 •*


                                                 *
         V.                                                 CR 115-063-2
                                                 k


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WILLIE        WILLIAM     SMITH




                                          ORDER




        In the present circumstance of the COVID-19 pandemic, inmates

of federal prison facilities are understandably concerned.                                   Some


inmates are choosing to file motions with the Court for immediate

release        or   to    accelerate     their        placement   on   home    confinement.

Defendant Willie William Smith has filed such a motion.                                The only

provision by which a federal court can modify an imposed sentence

is 18 U.S.C. § 3582(c).

        Section          3582(c)(1)(A),      commonly         referred        to        as     the

\\                                It

     compassionate release             provision, provides a narrow             path for a

                    \\                                                             n
defendant in             extraordinary and compelling circumstances                     to leave


prison early.            In consideration of a compassionate release motion,

the Court is constrained to follow the applicable policy statements

issued by the United States Sentencing Commission.                            See 18      U.S.C.


§ 3582(c)(1)(A).            The existing policy statement, U.S.S.G. § 1B1.13,

provides that in addition to the existence of extraordinary and
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compelling reasons, the defendant must not present a danger to the

safety of any other person or the community.                                         Application Note 1

lists       three              specific examples          of     extraordinary              and   compelling

reasons         to         consider        reduction     of a        defendant's sentence               under §


3582(c)(1)(A): (1) a serious medical condition;^ (2) advanced age;

and (3) family circumstances. Id. n.l(A)-(C).                                         Defendant         has   not


met the criteria for any of these categories.                                              The application

                                                                              \\

note also provides a                        catch-all category:                    As determined by           the

Director of the Bureau of Prisons, there exists in the defendant's

case       an        extraordinary           and     compelling           reason     other    than.      or   in


                                       n

combination                    with.       the    aforementioned            three     categories.             Id.


n.l(D) (emphasis added).                           The   Court       has   not been        made   aware that


the    BOP       Director              has sanctioned         Defendant's early release.                      In




   Defendant states that he suffers from high blood pressure and
1


has a family history of diabetes.       However, the Sentencing
                                                                s\
Commission  has clarified that a    serious physical or medical
                     //   \\
condition   substantially diminishes the ability of the defendant
to provide self-care within the environment of a correctional
facility and [is one] from which he or she is not expected to
                If
recover.                   U. S.S.G. § IBl.13,            n.1(A)(ii).               Here,    Defendant        has
failed  to  satisfy   his  burden  to  show  he                 to                     is     entitled

compassionate release because he has presented no evidence that he
has    a    serious              medical         condition,          In    fact,     the    Government        has
submitted                 inmate   medical         records    that        show     Defendant      has    denied
having hypertension and diabetes. (See Gov't Resp. in Opp'n, Doc.
No. 157, Ex. C, at 7, 13, 26.)   Defendant's generalized concerns
about COVID-19 are insufficient to uniquely position him to be so
adversely affected by COVID-19 that his release is warranted. The
Court particularly notes that FCI Edgefield in Edgefield, South
Carolina, currently has one confirmed active case of COVID-19 in
its inmate population. See www.bop.gov/coronavirus (last visited
on July 20, 2020).


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short,     the        Court    denies     Defendant's        motion     for   compassionate

release     because           he   does    not   meet       the    specific    examples     of

extraordinary and compelling reasons and the Director of the BOP

has not determined that circumstances outside of these examples

exist to afford him relief.


         Finally, to the extent Defendant asks this Court to accelerate

his placement on home confinement, neither the CARES Act^ nor any

statutory provision vests the district court with such authority.

Rather, the placement of an inmate on home confinement remains in

the sole discretion of the BOP.                  E.g., United States v. McCloskey,

2020 WL 3078332, *2-3 (S.D. Ga.                      Jun.   9, 2020) (quoted and cited

sources     omitted);         Brown   v.   Atkinson,        2010   WL   3659634,   *4    (S.D.

Fla. Jun. 11, 2010) ("A federal district court does not have the

authority to order an inmate's placement in a particular facility
                 ft

or program.           (cited sources omitted) . )


         Upon the foregoing. Defendant Willie William Smith's motion

for compassionate release (doc. no. 156) is hereb                             lENIED.



         ORDER ENTERED at Augusta, Georgia, this t^'^^ay of July,
2020 .




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                                                      UNITED STATES' DISTRICT           JUDGE



2 The CARES Act refers to the Coronavirus Aid, Relief, and Economic
Security Act, Pub. L. No. 116-136, enacted on March 27, 2020.

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